                                    Case 2:14-cv-02135-DLR Document 59 Filed 06/20/16 Page 1 of 7



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                       6
                       7                                  UNITED STATES DISTRICT COURT
                       8                                  FOR THE DISTRICT OF ARIZONA
                       9       Stephanos Keele, individually and on behalf      Case No. 2:14-cv-02135-PHX-DLR
                    10         of those similarly situated,

                    11                       Plaintiff,                         DEFENDANT’S PROPOSED
                               v.                                               FINDINGS OF FACT AND
                    12                                                          CONCLUSIONS OF LAW
                    13         Rite of Passage, Inc.,

                    14                       Defendant.

                    15
                    16                Pursuant to the Court’s Order Setting Final Pretrial Conference dated March 31, 2016,

                    17         Defendant Rite of Passage, Inc. (“ROP”), by and through its undersigned counsel, hereby

                    18         submits its proposed Findings of Fact and Conclusions of Law.

                    19         I.     PROPOSED FINDINGS OF FACT

                    20                1.     ROP owns, operates, and manages Canyon State Academy (“CSA”). CSA is a

                    21         large, multi-building campus that includes an administration building, classrooms, athletic

                    22         facilities, farming areas, dining commons, and residential cottages for the students. Cottages

                    23         are staffed with Coach Counselors and Group Leaders. Coach Counselors are responsible

                    24         for supervising and mentoring student-residents. Coach Counselors report directly to a

                    25         Group Leader who is responsible for the supervision and management of the cottage and the

                    26         Coach Counselors.

                    27                2.     ROP hired Plaintiff Stephanos Keele on May 16, 2011, as a Coach Counselor.

                    28         On December 14, 2011, Plaintiff was promoted to the position of Group Leader, a position
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                                    Case 2:14-cv-02135-DLR Document 59 Filed 06/20/16 Page 2 of 7



                       1       he held until December 2012.
                       2              3.     Plaintiff was compensated as a Group Leader on a salary basis at the rate of
                       3       $36,000 a year ($692.30 per week). Plaintiff’s salary was not subject to reduction based on
                       4       the quantity or quality of his work.
                       5              4.     As set forth in the Group Leader Job Description, the Group Leader position
                       6       oversees and cottages to which the Group Leader is assigned, and is responsible for the
                       7       Coach Counselors generally.
                       8              5.     Group Leaders, including Plaintiff, monitor the performance of all Coach
                       9       Counselors and provide correction where necessary.
                    10                6.     Group Leaders, including Plaintiff, were required to interview candidates for
                    11         the Coach Counselor position and make recommendations as to who would be the best fit for
                    12         the job and he did, in fact, interview candidates while employed as a Coach Counselor.
                    13                7.     Plaintiff testified he was told that, if he determined an employee should be
                    14         fired, he simply needed to document the reasons for the termination, showing he had
                    15         authority to issue and document discipline that could affect the termination of an employee
                    16         he supervised. He further testified that he was told if he wanted to terminate an employee’s
                    17         employment, he just had to provide a reason for doing so.
                    18                8.     Plaintiff also testified that he disciplined one of his Coach Counselors saying
                    19         that if “he couldn’t maintain the safety of the children, that he could not maintain” his job.
                    20                9.     Plaintiff was expected to monitor and ensure Coach Counselors were up to date
                    21         on required training and to ensure that they attended training courses (relatedly, Plaintiff
                    22         testified that he was trained as a Coach Counselor by his Group Leader at the time).
                    23                10.    Plaintiff knew that, as a Group Leader, he was responsible for disciplining
                    24         Coach Counselors. He issued Coach Counselors both verbal and written discipline.
                    25                11.    As a Group Leader, Plaintiff had responsibility to help monitor labor hours,
                    26         and when he was a Coach Counselor, he sometimes was told by his Group Leader that his
                    27         practices needed to change so he could get clocked out on time. It is incumbent on a Group
                    28         Leader, like Plaintiff, to see that such problems related to labor hours and attendance are
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                                     Case 2:14-cv-02135-DLR Document 59 Filed 06/20/16 Page 3 of 7



                       1       rectified.
                       2              12.    As a Group Leader, Plaintiff was required to discipline Coach Counselors
                       3       regarding their working unauthorized overtime and to ensure the Coach Counselors were
                       4       clocking in and out on time.
                       5              13.    As a Group Leader, Plaintiff assisted with scheduling shifts for the Coach
                       6       Counselors, including the determination of the Coach Counselor overnight work schedule.
                       7              14.    Plaintiff maintained the safety of his cottage, including the safety of Coach
                       8       Counselors, and he considered this to be one of his most important duties.
                       9              15.    As a Group Leader, Plaintiff also evaluated the performance of his Coach
                    10         Counselors based on his own observations of job performance and comments he received
                    11         from others about his Coach Counselors’ job performance.
                    12                16.    As a Group Leader, Plaintiff was required to ensure that his cottage was
                    13         operating in a manner consistent with all applicable laws, regulations, licensing
                    14         requirements, and Company policies and procedures.
                    15                17.    Plaintiff had responsibility for: interviewing and hiring; ensuring his Coach
                    16         Counselors were properly trained; monitoring the performance of his Coach Counselors;
                    17         correcting that performance where necessary; and completing required paperwork.
                    18                18.    Plaintiff was explicitly told that it was his job to address problems with Coach
                    19         Counselor performance with coaching and discipline and that it was not his boss’s job to do
                    20         these things for him.
                    21                19.    As a Group Leader, Plaintiff knew he was responsible for supervising and
                    22         directing the work of any of the 85-90 Coach Counselors at CSA he may encounter during
                    23         his day .
                    24                20.    Plaintiff was directly assigned to supervise two Coach Counselors, and
                    25         although sometimes one of them would be assigned to do work away from Plaintiff’s
                    26         cottage, Plaintiff remained ultimately responsible as that Coach’s supervisor, being required
                    27         to monitor and evaluate the Coach’s performance.
                    28                21.    The Parties stipulated that ROP compensated Plaintiff a fixed annual salary of
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                                     Case 2:14-cv-02135-DLR Document 59 Filed 06/20/16 Page 4 of 7



                       1       $36,000 ($692.30 per week), which was not subject to reduction based on the quality or
                       2       quantity of his work. Thus, Plaintiff was paid on a salary basis in an amount in excess of the
                       3       minimum salary requirement ($455 per week) for an exempt employee under the FLSA, 29
                       4       U.S.C. § 213.
                       5              22.      Based on the evidence, the Court finds that, while Plaintiff was working as a
                       6       Group Leader:
                       7                       (1)   ROP compensated Plaintiff on a salary basis at a rate of more than
                       8                       $455 per week;
                       9                       (2) Plaintiff’s primary duty was management of the enterprise;
                    10                         (3) Plaintiff customarily and regularly directed the work of two or more
                    11                         other employees; and
                    12                         (4) Plaintiff had the authority to hire or fire other employees, or ROP gave
                    13                         particular weight to his suggestions and recommendations as to the hiring,
                    14                         firing, advancement, promotion or any other change of status of other
                    15                         employees.
                    16                23.      In 2007-2008, the United States Department of Labor, Wage and Hour
                    17         Division, conducted an investigation as to whether Defendant was properly classifying
                    18         Group Leaders as exempt employees at CSA under the FLSA. Through an email from
                    19         investigator Thomas Hull, the DOL informed Defendant that it was, in fact, properly
                    20         classifying its Group Leaders at CSA as exempt employees. Defendant relied upon this
                    21         determination from the DOL when classifying Plaintiff as a Group Leader, exempt from the
                    22         overtime requirements of the FLSA.
                    23         II.    PROPOSED CONCLUSIONS OF LAW
                    24                1.       Plaintiff was properly classified by ROP as an executive employee, as defined
                    25         by the FLSA, in his position as Group Leader at CSA. The parties have stipulated that
                    26         Plaintiff’s employment met the salary basis test. As to the duties test, Plaintiff regularly
                    27         supervised two or more other employees. In addition, among other things, Plaintiff was
                    28         expected to perform managerial duties as a Group Leader at all times and such managerial
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                                      Case 2:14-cv-02135-DLR Document 59 Filed 06/20/16 Page 5 of 7



                       1       tasks constituted his primary duty. If Plaintiff was ever not performing his managerial tasks,
                       2       he was willfully choosing to violate the clear expectations of his employer, which violation
                       3       does not undermine application of the executive exemption. See, e.g., DiBlasi v. Liberty
                       4       Mut. Ins. Group Inc., Case No. 1:12-cv-10967-RGS, 2014 U.S. Dist. LEXIS 45898 (D.
                       5       Mass. Apr. 3, 2014).
                       6               2.    In addition, Plaintiff’s primary duty as a Group Leader involved exempt
                       7       administrative work directly related to the management or general business operations of
                       8       CSA.     See 29 C.F.R. §§ 541.201, 541.708.        Therefore, Plaintiff also was an exempt
                       9       administrative employee under the FLSA. Plaintiff’s primary duty included work directly
                    10         related to management or general business operations including, but is not limited to, work in
                    11         functional areas such as safety and health; personnel management; legal and regulatory
                    12         compliance; and similar activities.    Plaintiff also was frequently expected, as a Group
                    13         Leader, to exercise discretion and independent judgment as to matters of significance.
                    14                 3.    As a Group Leader, Plaintiff had as his primary duty the performance of tasks
                    15         set forth in the federal regulations as being exempt in nature under the executive or a
                    16         combination of the executive and administrative exemptions. See 29 C.F.R. § 541.708.
                    17                 4.    Plaintiff was properly exempted from the overtime requirements of federal law
                    18         because, as a Group Leader at CSA, his primary duties were exempt in nature, and he met all
                    19         of the other requirements set forth in 29 C.F.R. § 541.100(a) for application of the executive,
                    20         administrative, or a combination exemption.
                    21                 5.    Because Defendant relied on a written finding from the Department of Labor
                    22         that Plaintiff’s position was exempt from the overtime requirements of the FLSA, under
                    23         section 10 of the Portal-to-Portal Act, Defendant cannot be subject to liability as to
                    24         Plaintiff’s overtime claims. 29 U.S.C. § 259; Marshall v. Baptist Hospital, Inc., 668 F.2d
                    25         234, 238 (6th Cir. 1981).
                    26                 6.    [If Defendant is deemed to owe Plaintiff any amount of wages for unpaid
                    27         overtime] The burden of proof as to willfulness is Plaintiff’s to bear. An employer’s
                    28         violation is only willful if the employer either knew its actions were prohibited by the FLSA
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                                    Case 2:14-cv-02135-DLR Document 59 Filed 06/20/16 Page 6 of 7



                       1       or showed reckless disregard for whether its conduct was prohibited by the FLSA.
                       2       “Reckless disregard” means more than simply an error in judgment, or an “unreasonable”
                       3       decision to classify a Group Leader as exempt from the overtime rule. Mere negligence by
                       4       an employer is not enough to permit a finding of willfulness. A good faith but incorrect
                       5       assumption that an employee was properly classified as exempt under the FLSA is not a
                       6       willful violation. See, e.g., 29 U.S.C. § 255(a); McLaughlin v. Richland Shoe Co., 486 U.S.
                       7       128, 133-35 (1988); Hoffman v. Professional Med Team, 394 F.3d 414, 419-20 (6th Cir.
                       8       2005). Nothing in this matter establishes that Defendant, in classifying Plaintiff as exempt
                       9       from the overtime requirements of the FLSA, acted with reckless disregard for whether its
                    10         conduct violated the FLSA. Accordingly, Plaintiff has not met his burden in this regard and
                    11         there can be no finding of willfulness in this matter.
                    12                7.     [If Defendant is deemed to owe Plaintiff any amount of wages for unpaid
                    13         overtime] Because the DOL told Defendant it was properly classifying CSA Group Leaders
                    14         as exempt employees, Defendant acted in good faith in classifying Plaintiff, as a Group
                    15         Leader, as exempt from the FLSA’s overtime requirements, thus, liquidated damages are
                    16         inappropriate in this case. See Schneider v. City of Springfield, 102 F. Supp. 2d 827, 841 n.9
                    17         (S.D. Ohio 1999); Nelson v. Ala. Inst. for Deaf and Blind, 896 F. Supp. 1108, 1115 (N.D.
                    18         Ala. 1995).
                    19                8.     [If Defendant is deemed to owe Plaintiff any amount of wages for unpaid
                    20         overtime] Defendant acted in good faith in classifying Plaintiff as an exempt employee, and
                    21         did not willfully violate the FLSA in doing so, therefore, the proper statute of limitations is
                    22         two years and liquidated damages will not be awarded.
                    23                9.     [If Defendant is deemed to owe Plaintiff any amount of wages for unpaid
                    24         overtime] In calculating damages, because Plaintiff’s salary already compensated him for all
                    25         hours worked, he has already received the 1 of the 1.5 times the regular rate payment
                    26         directed by federal law for overtime hours . Accordingly, if Plaintiff is found to be owed any
                    27         amount for unpaid overtime, his weekly pay must be divided by the number of hours worked
                    28         to determine his regular rate. This rate must then be multiplied by 0.5 to determine the
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                                      Case 2:14-cv-02135-DLR Document 59 Filed 06/20/16 Page 7 of 7



                       1       additional overtime premium that would be owed (adding the 0.5 to the 1 Plaintiff was
                       2       already paid through his salary). The overtime premium must then be multiplied by the
                       3       number of overtime hours Plaintiff is found to have worked during the relevant period. See
                       4       Overnight Motor Transportation Co. v. Missel, 316 U.S. 572 (1942), Valerio v. Putnam
                       5       Assocs., Inc., 173 F.3d 35, 39-40 (1st Cir. 1999); Desmond v. PNGI Charles Town Gaming,
                       6       L.L.C., 630 F.3d 351, 357 (4th Cir. 2011); Urnikis-Negro v. Am. Family Prop. Servs., 616
                       7       F.3d 665, 681 (7th Cir. 2010); Clements v. Serco, Inc., 530 F.3d 1224, 1230-31 (10th Cir.
                       8       2008); Blackmon v. Brookshire Grocery Co., 835 F.2d 1135, 1138-39 (5th Cir. 1988); DOL
                       9       Wage and Hour Opinion Letter FLSA 2009-3, at 2 (Jan. 14, 2009) (citing Valerio); DOL
                    10         Wage and Hour Opinion Letter FLSA-772 (Feb. 26, 1973).
                    11                  10.       Plaintiff’s First Amended Complaint is, therefore, dismissed in its entirety and
                    12         Judgment is to be entered for Defendant.
                    13
                                        DATED this 20th day of June 2016.
                    14
                    15                                                          s/ Steven G. Biddle
                                                                                Steven G. Biddle
                    16                                                          Cory G. Walker
                                                                                LITTLER MENDELSON, P.C.
                    17                                                          Attorneys for Defendant
                    18
                    19         I hereby certify that I electronically
                               transmitted the attached document to the
                    20         Clerk’s Office using the CM/ECF system
                               for filing and transmittal of a Notice of
                    21         Electronic Filing to the following
                               CM/ECF registrants, and mailed a copy
                    22         of same to the following if non-
                               registrants, this 20th day of June 2016.
                    23
                               Joshua W. Carden
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                    27         s/ Tisha Davis
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